    Case: 1:22-cv-03705 Document #: 67 Filed: 04/15/24 Page 1 of 5 PageID #:643




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

JULIA BRIGGS, on behalf of herself and all        )
others similarly situated,                        )
                                                  )
                               Plaintiff,         )           Case No.: 1:22-cv-3705
                                                  )           Judge: Hon Edmond Chang
       v.                                         )
                                                  )
STRATEGIC FINANCIAL SOLUTIONS,                    )
LLC; VERSARA LENDING, LLC; and                    )
DOES 1-100                                        )
                                                  )
                               Defendants.        )


    POSITION STATEMENT OF STRATEGIC FINANCIAL SERVICES,VERSARA
                LENDING’, AND THE RECEIVER THEREOF

       In response to this Court’s Order of March 27, 2024 (Dkt. No. 65), Defendants, Strategic

Financial Services, LLC and Versara Lending, LLC (the “SFS Defendants”), and Thomas

McNamara, Esq., as the Receiver thereof, submits the following Position Statement, stating their

position that any proceedings directly against the SFS Defendants should be stayed unless and

until Plaintiff receives leave of court to proceed from the U.S. District Court for the Western

District of New York. However, the Receiver and SFS Defendants do not oppose Plaintiff’s

efforts to seek third-party discovery or to prosecute her case against other parties, including the

individuals she believes are personally responsible by way of joinder or any other means this

court authorizes. In support thereof, the SFS Defendants and Receiver states as follows:

                                   PROCEDURAL HISTORY

       As the Court is aware, earlier this year, the Consumer Financial Protection Bureau, the

People of the State of New York, by Letitia James, Attorney General of the State of New York,

the State of Colorado ex rel. Philip J. Weiser, Attorney General, the State of Delaware ex rel.
    Case: 1:22-cv-03705 Document #: 67 Filed: 04/15/24 Page 2 of 5 PageID #:644




Kathleen Jennings, Attorney General, the People of the State of Illinois through Attorney

General Kwame Raoul, the State of Minnesota by its Attorney General Keith Ellison, the State of

North Carolina ex rel. Joshua H. Stein, Attorney General, and the State of Wisconsin, brought a

lawsuit against the SFS Defendants and other parties in the U.S. District Court for the Western

District of New York (the “WDNY”). That case is captioned CFPB, et al. v. StratFS, LLC, et

al., No. 24-cv-00040-EAW-MJR (the “CFPB case”). The WDNY entered a Temporary

Restraining Order in the CFPB case on January 11, 2024 (“TRO”). On March 4, 2024, the

WDNY entered a Preliminary Injunction in the CFPB case (“PI”), which contains substantially

the same terms as in the TRO and which effectively installs the Receiver and stays any and all

proceedings and/or claims against the SFS Defendants. See PI, Dkt. No. 61-1 (attachment to

Dkt. No. 61).

       In an earlier Minute Order entered by this Court on February 25, 2024, the Court asked

the parties to state their positions on whether the Court should rule on a series of defense motions

filed by Versara Lending, including a Motion to Dismiss, a Motion to Stay, and a Motion to

Compel Arbitration and, additionally, to state their positions regarding whether the case could

progress notwithstanding the TRO (now the PI, with essentially the same terms) if those motions

were denied.

       The parties filed their respective position statements as ordered. On March 27, 2024, the

Court ruled on the then-pending motions and, ultimately, denied them all. See 3/27/24 Order,

Dkt. No. 65. Thereafter, the Court also ordered the parties to file the instant position statements

regarding the next steps for this case.
    Case: 1:22-cv-03705 Document #: 67 Filed: 04/15/24 Page 3 of 5 PageID #:645




                                           LEGAL POSITION

       Having reviewed the parties’ prior position statements and Plaintiff’s instant position

statement, the correct legal analysis of the PI and prevailing law compels the conclusion that

prosecution of this case against the SFS Defendants should be stayed until Plaintiff obtains leave

of court to proceed from the WDNY, pursuant to Section XX(A) of the PI. The PI does not,

however, apply to any third parties nor any prospective individual defendants Plaintiff wishes to

pursue who are not Receivership Defendants pursuant to the PI. Accordingly, the Receiver and

SFS Defendants do not oppose Plaintiff’s prosecution of those claims nor her seeking discovery

from third parties.

1. Any Further Prosecution of this Case Against the SFS Defendants Should be Stayed.

       A receivership is an equitable proceeding. S.E.C. v. Huber, 702 F.3d 903, 908 (7th Cir.

2012). As such, a court’s powers in a receivership proceeding are not limited to statutory grants

of authority but also include “the inherent power of a court of equity to fashion effective relief.”

S.E.C. v. Wencke, 622 F.2d 1363, 1369 (9th Cir. 1980). Among these inherent equitable powers

is the power “to issue a stay, effective against all persons, of all proceedings against the

receivership entities,” including actions in other courts brought by non-parties to the receivership

action. Id. at 1369-72. The WDNY has issued a valid stay of any and all claims or proceedings

against the SFS Defendants. Accordingly, any further prosecution of this case against the SFS

Defendants, or any other claim against the SFS Defendants, should be stayed unless leave of

court to proceed is granted by the WDNY.

       While the CFPB is correct that Section IX(M) of the PI grants the Receiver discretion to

defend any claim that it “deems necessary and advisable to preserve the Assets of the

Receivership Defendants or that the Receiver deems necessary and advisable to carry out the
    Case: 1:22-cv-03705 Document #: 67 Filed: 04/15/24 Page 4 of 5 PageID #:646




Receiver’s mandate under [the PI]” (see Dkt. No. 51), this is not such a case. Doing so would

deplete the Receivership Defendants’ resources, including the Receivership Estate, in favor of

Plaintiff and to the detriment of other creditors, obligors, and consumers who have similar

claims, and as well as claims and expenses of the Receivership Estate. That depletion,

ultimately, would not meaningfully benefit Plaintiff nor any of the individuals allegedly harmed

by the misconduct asserted in her complaint. Instead, an extraordinary amount of those resources

would be spent on the defense of this case, including attorney’s fees and litigation costs – none

of which would ultimately benefit Plaintiff nor any other affected individual claimant.

       Regardless, Plaintiff is not prevented from pursuing her claim provided she obtains leave

from the WDNY allowing her the proceed notwithstanding the PI. The WDNY is the proper

forum for this decision because that court can balance the Plaintiffs’ interests against those of the

other claimants, as well as the interests of the Receivership Estate and the public interests. Doing

so is in the best interests of all of the parties. Accordingly, Plaintiff’s claims against the SFS

Defendants should be stayed unless and until she obtains leave of court from the WDNY

allowing her to proceed.

2. Plaintiff is Free to Pursue her Claims Against Third Parties or Individual Defendants

       Plaintiff, through counsel, has expressed her intention to pursue discovery from third

parties and to seek leave to amend her complaint to add or join additional defendants, namely,

Messrs. Sasson, Blust, and Behar (the “Individuals”) – whom she alleges are personally liable for

all or part of the misconduct that is the subject of her complaint. As these parties are neither

subject to, nor addressed in, the PI, the Receiver and SFS Defendants do not oppose Plaintiff’s

position; provided, however, that any proceedings against the SFS Defendants would require

leave of court before they can resume. The SFS Defendants are not opposed to reasonable
    Case: 1:22-cv-03705 Document #: 67 Filed: 04/15/24 Page 5 of 5 PageID #:647




cooperation with any discovery efforts directed at third parties or the Individuals, provided such

requests are appropriately limited and narrowly tailored so as not to unduly burden the SFS

Defendants or Receiver.

Dated: April 15, 2024                                Respectfully submitted,

                                                     /s/ Jamal M. Edwards
                                                     Jamal M. Edwards (ARDC 6227420)
                                                     HILGERS GRABEN, PLLC
                                                     jedwards@hilgersgraben.com
                                                     332 S. Michigan Ave.
                                                     Suite 121, #5612
                                                     Chicago, IL 60604
                                                     Telephone: 312-554-5845

                                                     Attorney for Defendant Strategic Financial
                                                     Solutions, LLC and Thomas M. McNamara
                                                     as Receiver for Strategic Financial
                                                     Solutions, LLC
